            Case 24-21982-JCM                       Doc 1      Filed 08/13/24 Entered 08/13/24 19:31:15                             Desc Main
                                                               Document      Page 1 of 4
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
      Western
     ____________________              Pennsylvania
                          District of _________________
                                          (State)
                                                                11
     Case number (If known): _________________________ Chapter _____

                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                             12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                        Chapter 7
                                       
                                       X Chapter 11

Part 2:      Identify the Debtor

                                        MeSearch Media Technologies Limited
2.   Debtor’s name                     ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
                                       8 3            3 6 1 0 4 03
     Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                      Mailing address, if different
5.   Debtor’s address

                                        3945 Forbes Avenue, Suite 391
                                       ________________________________________________                 _________________________________________________
                                       Number     Street                                                Number     Street


                                                                                                        _________________________________________________
                                       _________________________________________________
                                                                                                        P.O. Box


                                       Pittsburgh
                                       ______________________________         PA
                                                                              _______   15213
                                                                                      _________         _____________________________ _______ _________
                                       City                                   State   ZIP Code          City                          State   ZIP Code



                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                        Allegheny
                                       _________________________________________________                _________________________________________________
                                       County                                                           Number     Street

                                                                                                        _________________________________________________

                                                                                                        _____________________________ _______ _________
                                                                                                        City                          State   ZIP Code


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Debtor        Mesearch Media Technologies Limited
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




6.   Debtor’s website (URL)        _____________________________________________________________________________________________________



                                   X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   
7.   Type of debtor
                                    Partnership (excluding LLP)
                                    Other type of debtor. Specify: __________________________________________________________________________

8.   Type of debtor’s
                                   Check one:
     business
                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                    Railroad (as defined in 11 U.S.C. § 101(44))
                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                   X None of the types of business listed.
                                   
                                    Unknown type of business.

9.   To the best of your           X No
                                   
     knowledge, are any
     bankruptcy cases               Yes. Debtor _________________________________________________ Relationship __________________________
     pending by or against
                                            District __________________________ Date filed _______________ Case number, if known____________________
     any partner or affiliate
                                                                                           MM / DD / YYYY
     of this debtor?

                                            Debtor _________________________________________________             Relationship __________________________

                                            District __________________________ Date filed _______________ Case number, if known____________________
                                                                                           MM / DD / YYYY




Part 3:       Report About the Case

10. Venue                          Check one:

                                   X Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                   
                                      business, or principal assets in this district longer than in any other district.

                                    A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11. Allegations                    Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                   The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                   At least one box must be checked:
                                   X The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                   
                                      fide dispute as to liability or amount.

                                    Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                      agent appointed or authorized to take charge of less than substantially all of the property of the
                                      debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12. Has there been a               X No
                                   
     transfer of any claim
     against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
     to any petitioner?               Rule 1003(a).


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Debtor
                Mesearch Media Technologies Limited
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




13. Each petitioner’s claim                    Name of petitioner                                    Nature of petitioner’s claim              Amount of the claim
                                                                                                                                               above the value of
                                                                                                                                               any lien

                                               RMS Funding Company, LLC
                                               ______________________________________                _________________________________            1,875,000.00
                                                                                                                                               $ ________________

                                                Game Creek Holdings, LLC
                                               ______________________________________                _________________________________             800,000.00
                                                                                                                                               $ _______________

                                                 Trib Total Media, LLC
                                               ______________________________________                _________________________________              3,997.55
                                                                                                                                               $ ________________

                                                                                                           Total of petitioners’ claims           2,678,997.55
                                                                                                                                               $ ________________


   If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
   the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
   additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
   statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
   along with the signature of the petitioner’s attorney.


Part 4:     Request for Relief

   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
   $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

   Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
   petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
   foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

   I have examined the information in this document and have a reasonable belief that the information is true and correct.

   Petitioners or Petitioners’ Representative                                             Attorneys


   Name and mailing address of petitioner
                                                                                           Kirk B. Burkley
   RMS Funding Company, LLC
   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

   210 Wood Street                                                                         Bernstein-Burkley. P.C.
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

                                                    15084                                  601 Grant Street, 9th Floor
   Tarentum
   _________________________________ PA
                                     ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street
                                                                                          Pittsburgh                         PA            15219
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
    Jennifer L. Bertetto, President & CEO
   ______________________________________________________________                         Contact phone 412-456-8100              kburkley@bernsteinlaw.com
                                                                                                         _________________ Email ___________________________
   Name

   ______________________________________________________________                         Bar number      89511
                                                                                                          ___________________________________________________
   Number Street

    210 Wood Street Tarentum, PA 15084
   _________________________________ ______________ _____________                         State           PA
                                                                                                          _________________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                  08/13/2024
   Executed on _________________
               MM / DD / YYYY                                                              /s/ Kirk B. Burkley
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney

   ______________________________________________________________
                                                                                          Date signed      08/13/2024
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title
                                                                                                           MM / DD / YYYY



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Debtor
               Mesearch  Media Technologies Limited
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner
    Game Creek Holdings, LLC                                                              ________________________________________________________________
   ______________________________________________________________
   Name                                                                                   Printed name

   210 Wood Street                                                                        ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

    Tarentum                         PA             15084                                 ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
    Jennifer L. Bertetto, President & CEO                                                 Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street

        210 Wood Street Tarentum,
   _________________________________        PA 15084
                                     ______________ _____________
                                                                                          State           _________________

   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                08/13/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          ________________________________________________________________
                                                                                          Signature of attorney


   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

    Trib Total Media , LLC
   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

    210 Wood Street                                                                       ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

    Tarentum                                      PA                  15084               ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
    Jennifer L. Bertetto, President and CEO                                               Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street

    210 Wood Street Tarentum, PA 15084
   _________________________________ ______________ _____________
                                                                                          State           _________________

   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                  08/13/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          ________________________________________________________________
                                                                                          Signature of attorney


   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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